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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10                                WESTERN DIVISION
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12 LUCAS R., et al.,                       Case No.: CV 18-5741-DMG (PLAx)
13                  Plaintiffs,
                                           ORDER RE STIPULATION TO
14         v.                              REMOVE MIGUEL ANGEL S. AS
                                           CLASS REPRESENTATIVE [197]
15   ALEX AZAR, et al.,
16                  Defendants.
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 1         Having read and considered the Parties’ Stipulation re: Removal of Miguel Angel
 2   S. as Class Representative, and for good cause shown, the Court hereby APPROVES
 3   the Stipulation and orders that:
 4         1.     Named plaintiff Miguel Angel S. (through his next friend Gerardo S.) shall
 5   be removed as a class representative of the step-up class, disability class, and drug
 6   administration class, and shall no longer serve as a class representative in this action;
 7   and
 8         2.     If the parties wish to have Plaintiff Miguel Angel S. dismissed as an
 9   individual plaintiff, they shall file a stipulation so specifying.
10   IT IS SO ORDERED.
11   DATED: October 15, 2019
12                                                       DOLLY M. GEE
                                                UNITED STATES DISTRICT JUDGE
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                                                           [PROPOSED] ORDER GRANTING STIPULATION RE:
                                                  1        REMOVAL OF MIGUEL ANGEL S. AS A CLASS REP.
                                                                     CASE NO. 2:18-CV-05741 DMG PLA
